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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   John A Sova,                                        No. CV-21-00599-PHX-SMB
10                  Plaintiff,                           ORDER OF DISMISSAL
11   v.
12   Francis A Bijak, et al.,
13                  Defendants.
14
15          The Court having considered the Parties’ Stipulated Motion for Dismissal with
16   Prejudice (Doc. 13) and for good cause appearing,

17          IT IS HEREBY ORDERED granting the Stipulated Motion and dismissing this
18   case in its entirety with prejudice, each party to bear his/its own fees and costs.

19          Dated this 16th day of April, 2021.

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